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                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                        SEP 11 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-5538
       Originating Case Number: 5:18-cv-07182-EJD

       Short Title:                 Neo4j, Inc., et al. v. Suhy, et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
                  Case 5:18-cv-07182-EJD Document 256 Filed 09/11/24 Page 2 of 2

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Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-5538
        Originating Case Number: 5:18-cv-07182-EJD

        Case Title:                  Neo4j, Inc., et al. v. Suhy, et al.



        Monday, September 23, 2024
        John Mark Suhy                                        Appeal Transcript Order Due

        Tuesday, October 22, 2024
        John Mark Suhy                                        Appeal Transcript Due

        Monday, December 2, 2024
        John Mark Suhy                                        Appeal Opening Brief Due

        Thursday, January 2, 2025
        Neo4j, Inc.                                           Appeal Answering Brief Due
        Neo4j Sweden AB                                       Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
       Failure of the appellant to comply with the time schedule order may result in
       automatic dismissal of the appeal. See 9th Cir. R. 42-1.
